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MICHAEL 1). WILLIAMS, JR. ana ~ 1 n t t 1

KRYSTAL L. WILLIAMS,

Plaintiffs/Counter-Defendant,

vs. No. 2:03CV2577-MIP

JURY DEMANDED
ALLSTATE INS URANCE COMPANY,

Defendant/Counter-Plaintiff.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

lt appearing to the satisfaction of the Court, that all things and matters in controversy between
Michael F. Williams, Jr. and Kiystal Williams and Allstate Insurance Company have been fully settled and
compromised, as evidenced by the signatures hereto of counsel for the respective parties, and that the
plaintiffs case against defendant and defendant’s case against plaintiff should be dismissed with prejudice,
with each party to bear their own discretionary costs as allowed under Rule 54 of the Federal Rules of Civil
Procedure.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

l. The plaintiffs cause of action against the defendant is hereby dismissed, with prejudice
2. Tlie defendant’s cause of action against the plaintiff is hereby dismissed, with prejudice
3. Each party shall bear their own discretionary costs as allowed by Rule 54 of the Federal

Rules of Civil Procedure. The Court cost shall be taxed against Allstate.

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Case 2:03-cv-02577-.]PI\/|-tmp Document 24 Filed 05/25/05 Page 2 of 3

Entered this g Li day of l"

APPROVED FOR ENTRY:

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QMMMN/-f

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-02577 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

